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IN THE UNITEI) STA'I`ES DI`STRICT CO URT
NORTHERN DISTRICT OF TEXAS

   

 

 

 

FORT WORTH DIVISION .
§ Ci__i:;~u<;, us nis'i‘aici‘ coL' s1
\, a
COTY MITCHELL and § Bd l'_` cp-_:§y
CLYDELYNN MITCHELL §
PiaintiffS, §
§ CIVIL ACTION NO. 4115-CV-ESI~A
V. §
§
STATE FARM LLOYDS §
Defendant. §

PLAINTIFF§’ FIRST AMENDED COMPLAINT
TO THE HONORABLE JUDGE MCBRYDE:

NOW Conies Coty l\/.[itchell and Clydclynn Mitchell, hereinafter referred to as “Plaintii`fs,”
complaining of State Farrn Lloyds and hereby respectfully shows unto the Cour€ and jury as
follows:

!;_'I:H_EBARIII*§§

Plaintifi`s, Coty l\/I.itciiell and Clydelynn Mitchell, are individuals and residents ol""l`exas.

Defendant, State Farni Lloyds (hereinai"ter referred to as “Defendant” or “State Farrn”), is on
information and beiief, a Texas domestic Lioyd’s plan insurance company licensed to conduct the
business of insurance in Texas and/or has its principal place of business located in Texas.
Additionally, one or more of S$ate Farin’s “1ne1nbers” are citizens of Texas. State Fann has already

made an appearance herein

nle JURISDICTION AND VENUE

 

Jurisdiction in this matter is based upon diversity of citizenship pursuant to 28 U.S.C. §

133 2(a)(l). The amount in controversy exceeds 375,000.

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Venue is appropriate under 28 U`.S.C. § l391(b)(2) in that a substantial part of the events or

omissions giving rise to the claim occurred in Tarrant County, Texas.

Ill. CONDITIONS PRECEDENT

 

Ali conditions precedent to recovery have been perfonned, Waived, or have occurred

A. Plaintiffs are the owners of insurance Policy Nurnber 58-BS-G884-9 issued by Defendant,
State Farm (hereinafter referred to as the “Policy”).

B. Plaintii`i°s owned the insured property, which is specifically located at 3420 Pueblo Ridge,
Grand Prairie, Texas 75052 on October 2, 2014 (hereinafter referred to as the “Property”).

C, Defendant State F ann or its agent sold the Poiicy, insuring the Property, to Plaintiffs.

D. On or about October 2, 2014, a Wind and hailstonn struck the Grand Prairie, Texas area causing
severe damage to homes and businesses throughout the area, including Piaintift`s Property.

l?I. l"laintiffs submitted a claim to State Fann against the Policy for rooi" damage the Property
sustained as a result of the Wind and bailstorm. Plaintiffs asked that State F ann cover the cost

of repairs to the Property pursuant to the Poiicy and any other available coverages under the

Policy_
F. Defendants have assigned claim number 43534L379 to Plaintiii`s` claim.
G. State Farrn assigned adjuster Laurin Linson (“Linson”) to investigate Piaintifi`s’ claim. Linson

acted as State Farrn’s agent in handling Plaintifi"s claim.
H_ Linson inspected Piaintiffs’ Property on October 13, 2014. Aiiter inspecting the Property, she
drafted a “Building Estiniate.”l In the estimate, Linson misrepresented that the only damage to

Plaintiffs’ Property Was to a few shingles on the roof and a small portion of the wood fencing,

 

l See Building Estimate, attached as Exhibit A.
2 See l’ublic Adjuster’s Adjustment Report, attachedBmglebdjfi]=§it 9-16; See also Plaintiffs’ Photos, attached as

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even though it was apparent from the wind and hail damage to the roof that interior water
damage was expected2

1. Relying upon Linson’s Final Report, State Farm determined that the damages caused by the
wind and hailstorm were only $3_“'734.33. On or about October l3_, 2014, Linson, acting as a
State Farm claim representative, sent Plaintiffs a letter with a payment amount of 333.22 in
satisfaction of Plaintiffs` claim.3

3. After State liarm wrongfully underpaid Plaintiffs’ claim, Plaintiffs were forced to hire a public
adjuster to assist them with their claim. The public adjuster inspected the Propeity on or about
October 25, 2014 and found extensive wind damage to all slopes of the roof, as well as hail
damage to the air conditioning unit and wind damage to the fencing of the Property.4 The
public adjuster estimated that the cost to repair Plaintiffs’ wind and hailstorm damages
exceeded Sl 9,009.00.5 This amount included replacement of the entire roof.

K. After Plaintiffs received the estimate for repairs, Plaintiffs suffered water intrusion into their
home in several rooms as a result of the roof damage caused by the wind and hailstoriu and
their inability to repair the roof due to State liarm’s underpayment of their claim6 As a result,
Plaintiffs retained the undersigned counsel to assist them with their wind and haiistorm claim.

L. Without limitation, Linson, acting on behalf of State Fann, misrepresented the cause of, scope
of, and cost to repair the damage to Plaintift`s1 Propeity, as well as the amount of and insurance
coverage for Plaintiffs’ claim/loss under Plaintiffs’ insurance policy.7 Linson made these and
other misrepresentations to Plaintiffs as well as to Defendant, State Farm. Plaintiffs and State

Farm both relied on their misrepresentations, including but not limited to those regarding the

 

2 See Public Adjuster’s Adjustrnent Report, attached as Exhibit D, at 9-16; See also Plaintiffs’ Pliotos, attached as
Exhibit C.

3 See Letter dated October l3, 2014, attached as Exhibit B.

4 see airline r), at 9~;6.

5 See id., at 1-8.

6 see r~;xhitit C.

7 See Exhibit A (misrepresenting the damages attributable to the wind and hailstorm were only 53,734.33).

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cause of, scope of, and cost to repair the damage to Plaintiffs’ Property, and Plaintiffs have
been damaged as a result of such reliancel Linson misrepresentations caused State Farm to
underpay Plaintit`fs on their insurance claim and, as such, Plaintiffs have not been able to
properly and completely repair the damages to their property, which in turn has caused
additional and further water damage to Plaintiffs’ property. Linson also advised Plaintiffs as to
how they could repair their Property so as to prevent further damage to the Plaintiffs’ Property.
This advice was negligent and false because it turns out Plaintiffs could not properly repair his
Propeity and prevent future damage by following Linson’s advice Plaintiffs’ Property have
sustained further damages as a result.

Defendant State Farm failed to properly adjust the claim and Defendant has underpaid the wind
and hailstorm claim without ever performing an adequate investigation, even though the Policy
provided coverage for losses such as those suffered by Plaintiffs.

Plaintiffs’ claim still remains underpaid and the Plaintiffs still have not been able to properly
repair the Property.

’I` hese false representations allowed Defendant State Farm_, to financially gain by wrongfully
denying at least a portion of Plaintiffs’ claim.

Defendant State Farrn failed to perform its contractual duty to adequately compensate Plaintiffs
under the terms of the Policy. Specifically, Defendant State Farm failed and refused to pay
adequate proceeds of the Policy, although due demand was made for proceeds to be paid in an
amount sufficient to cover the damaged Property and all conditions precedent to recovery upon
the Policy had been carried out and accomplished by Plaintiffs. Defendant State Farm’s
conduct constitutes a breach of the insurance contract between Defendant and Plaintiffs.
l)efendant failed to make an attempt to settle Plaintiffs’ claim in a fair manner, although it was
aware of its liability to Plaintiffs under the Policy. l)efendant’s conduct constitutes a violation

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U.

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of the lean insurance Code, Unfair Settlement Practices. TEX. INS. CODE Section 541.060
(3)(2)(A)-

Defendant failed to explain to Plaintiffs the reasons for its offer of an inadequate settlement
Specifically, Defendant failed to offer Plaintiffs adequate coinpensation, without any
explanation why full payment was not being made. Furthermore, Defendant did not
communicate that any future settlements or payments would be forthcoming to pay for the
entire losses covered under the Policy, nor did it provide any explanation for the failure to
adequately settle Plaintiffs’ claim. TEX. ll\lS. CODE Section 541.060(a)(3).

Defendant failed to affirm or deny coverage of Plaintiffs’ claim within a reasonable time.
Specifically, Plaintiffs did not receive timely indication of acceptance or rejection, regarding
the full and entire claim, in writing from l)efendant. Defendant’s conduct constitutes a violation
of the Texas insurance Code, Unfair Set‘tlement Practices. 'l`EX. ll\lS. CODE Section
541.060(a)(4).

Defendant refused to fully compensate Plaintiffs, under the terms of the Policy, even though
Defendant failed to conduct a reasonable investigation Specifically, Defendant performed an
outcome~oriented investigation of Plaintiffs’ claim, which resulted in a biased, unfair and
inequitable evaluation of Plaintitl"‘s’ losses to the Property. Defendant’s conduct constitutes a
violation of the Texas insurance Code, Unfair Settlement Practices. TEX. INS. CODE Section
54l .060 (a)(?).

Defendant failed to meet its obligations under the Texas insurance Code regarding timely
acknowledging Plaintiffs’ claim, beginning an investigation of Plaintiffs’ claim5 and requesting
all information reasonably necessary to investigate Plaintiffs’ claim within the statutorily
mandated deadline Defendant’s conduct constitutes violation of the Texas lnsurance Code,
Prompt Payment of Claims, TEX. INS. CODE Section 542.055.

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V. Defendant failed to accept or deny Plaintiffs’ full and entire claim within the statutory
mandated deadline of receiving all necessary infonnation. Defendant’s conduct constitutes
violation of the 'l`exas Insurance Code, Prompt Payrnent of Claims. TEX. iNS. CODE Section
542.056_

W. Defendant failed to meet its obligations under the Texas insurance Code regarding payment of
claim without delay. Specitically, Defendant has delayed full payment of Plaintiffs’ claim
longer than allowed and, to date, Plaintiffs have not yet received full payment for his claim.
Defendant’s conduct constitutes violation of the Ffean Insurance Code, Prompt Payment of
Clainis, TEX. INS. CODE Section 542.058.

X. From and after the time Plaintiffs’ claim was presented to Defendant, the liability of Defendant
to pay the full claim in accordance with the terms of the Policy was reasonably clear. llowever,
Defendant has refused to pay Plaintiffs, despite there being no basis whatsoever on which a
reasonable insurance company would have relied to deny the full payment Defendant’s
conduct constitutes a breach of the common law duty of good faith and fair dealing

Y. As a result of Defendant’s wrongful acts and omissions, Plaintiffs were forced to retain the
professional services of the attorney and law firm who is representing Plaintiffs with respect to
these causes of action.

Z. Plaintiffs’ experience is not an isolated case. The acts and omissions of Defendant committed
in this case, or similar acts and omissions, occur with such frequency that they constitute a
general business practice of Defendant with regard to handling these types of claims
Defendant’s entire process is unfairly designed to reach favorable outcomes for the company at

the expense of the policyholder.

V. THEORIES OF LIABILITY

 

A. Cause of Action for Breach of Contract
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Plaiiitiffs reallege and incorporate by reference all previous and subsequent paragraphs
herein.

According to the insurance Policy that Plaintiffs purchased Defendant has the duty to
investigate and pay Plaintiffs’ policy benefits for claims made for covered damages, including
additional benefits under the Policy, resulting from the wind and hailstorm. As a result of the wind
and hailstorin and/or ensuing losses from the wind and liailstorm, both of which are covered perils
under the Policy, Plaintiffs’ Property have been damaged

Defendant’s failure and refusal, as described above, to pay the adequate compensation as it
is obligated to do under the terms of the Policy in question and under the laws of the State of 'l`e>tas,
constitutes a breach of Defendant’s contract with Plaintiffs. As a result of this breach of contract,
Plaintiffs has suffered the damages that are described in this petition
B. Cause of Action for Violatioii of Section 542

Plaintiffs reallege and incorporate by reference all previous and subsequent paragraphs
herein.

Defendant’s acts, omissions, failures and conduct that are described in this petition violate
Section 542 of the Texas insurance Code. Within the timefranie required after the receipt of either
actual or written notice of Plaintiffs’ claini, Defendant did not request from Plaintiffs any itenis,
statements, and forms that it reasonably believed at that time would be required from Plaintiffs for
their claim. As a result, Defendant has violated Section 542 by failing to accept or reject Plaintiffs’
claim in writing within the statutory timeframe. Defendant also violated Section 542 by failing to
pay Plaintiffs’ claim within the applicable statutory period In addition_, in the event it is determined
that Defendant owes Plaintiffs any additional monies on l’laintiffs’ claim, then Defendant has
automatically violated Section 542 in this case.

C. DTPA Cause of Action

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Plaintiffs realiege and incorporate by reference all previous and subsequent paragraphs
herein.

Plaintiffs incorporate all the allegations in this petition for this cause of action against
Defendant under the provisions of the D'i`PA. Plaintiffs are consumers of goods and services
provided by Defendant pursuant to the DTPA. Piaintift`s have met all conditions precedent to
bringing this cause of action against Defendant. Specilically_, Defendant’s violations of the DTPA
include, without limitation, the following matters:

By its acts, omissions failures, and conduct that are described in this petition, Defendant has
violated Sections 17.46 (b)(Z), (5), (7), (9), (12), (20) and (24) of the DTPA. ln this respect,
Defendant’s violations include, without limitation, (l) its misrepresentations regarding coverage
under Plaintiffs’ Poiicy; (2) its unreasonable delays in the investigation, adjustment and resolution
of Plaintiffs’ claim, (3) its failure to give Plaintiffs the benefit of the doubt, and (4) its failure to pay
for the repair of Plaintiffs’ home on which liability had become reasonably clear.

As described in this petition, Defendant represented to Plaintiffs that their insurance policy
and Defendant’s adjusting and investigative services had characteristics or benefits that they did not
have, which gives Plaintiffs the right to recover under Section l7.46 (b)($) of the DTPA. Namely,
Defendant represented that Plaintiffs’ Policy covered damage caused by a wind and hailstorm; yet
Defendant’s agent, Linson, never properly inspected Plaintiffs’ property to determine the amount to
repair the wind and hailstorm damages

As described in this petition, Defendant represented to Plaintiffs that their insurance policy
and Defendant’s adjusting and investigative services were of a particular standard, quality, or grade
when they were of another in violation of Section 17.46 (b)(7) of the DTPA. Naniely, Defendant

represented that it would adjust their claim fairly and in good faith; yet, Defendaut’s agent, Linson

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did not even bother to inspect the interior of the Property even though interior damage was probable
due to the extensive wind and hailstorm damage to the roof.

As described in this petition, Defendant advertised its insurance policy and adjusting and
investigative services with intent not to sell them as advertised in violation of Section l7.46 (b)(Q)
of the DTPA;

As described in this petition, Defendant represented to Plaintiffs that their insurance policy
and Defendant’s adjusting and investigative services conferred or involved rights, remedies, or
obligations that they did not have, which gives Plaintiffs the right to recover under Section 17.46
(b)(lZ) of the DTPA;

As described in this petition, Defendant failed to disclose information concerning goods or
services which were known at the time of the transaction and such failure to disclose was intended
to induce Plaintiffs into a transaction into which the Plaintiffs would not have entered had the
information been disclosed, which gives Plaintiffs the right to recover under Section 17.46 (b)(`Z¢i)
of the DTPA',

Defendant has breached an express warranty that the damage caused by the wind and
hailstorin would be covered under the insurance policies This breach entitles Plaintiffs to recover
under Sections 17.46 (b)(lZ) and (20) and l7.50 (a)(2) of the DTPA;

Defendant’s actions, as described in this petition, are unconscionable in that they took
advantage of Plaintiffs’ lack of knowledge, ability, and experience to a grossly unfair degree.
Defendant’s unconscionable conduct gives Plaintiffs the right to relief under Section l7.50{a)(3) of
the DTPA; and

Defendant’s conduct, acts, omissions, and failures, as described in this petition, are unfair

practices in the business of insurance in violation of Section 17.50 (a)(4) of the DTPA.

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All of the above-described acts, omissions, and failures of Defendant are a producing cause
of Plaintiffs’ damages that are described in this petition All of the above»described acts, omissions,
and failures of Defendant were done knowingly and intentionally as those terms are used in the
Texas Deceptive Trade Practices Act.

D. Cause of Action for Unfair lnsurance Practices

Plaintiffs reallege and incorporate by reference all previous and subsequent paragraphs
herein

Plaintiffs incorporate all the allegations in this petition for this cause of action against
Defendant under the 'l`exas lnsurance Code. Plaintifl"s have satisfied all conditions precedent to
bringing this cause of action. By its acts, omissions, failures, and conduct, Defendant has engaged
in unfair and deceptive acts or practices in the business of insurance in violation of 541 of the Texas
insurance Code. Such violations include, without liniitation, all the conduct described in this
petition plus Defendant’s unreasonable delays in the investigation, adjustment, and resolution of
Plaintiffs’ claim and Defendant’s failure to pay for the repair of i)laintiffs’ home on which liability
had become reasonably clear. They further include Defendant’s failure to give Plaintiffs the benth
of the doubt. Specifically, Defendant is guilty of the following unfair insurance practices:

A. l:",ngaging in false, misleading, and deceptive acts or practices in the business of
insurance in this case.

B. Engaging in unfair claims settlement practices;

C. Misrepresenting to Plaintiffs pertinent facts or policy provisions relating to the
coverage at issue;

D. l\lot attempting in good faith to effectuate a prompt, fair, and equitable settlement of
claims submitted in which liability has become reasonably clear;

E. Failing to affirm or deny coverage of Plaintiffs’ claim within a reasonable time;

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F. Refusing to pay Plaintiffs’ claim without conducting a reasonable investigation with
respect to the claini; and

G. Failing to provide promptly to a policyholder a reasonable explanation of the basis in
the insurance policy in relation to the facts or applicable law for the denial of a claim
or for the offer of a company’s settlement

l\/lore specifically: (l) Defendant and its agent underpaid Plaintiffs" claim for wind and
hailstonn damage; (2) Defendant misrepresented to Plaintiffs that it conducted a complete and
reasonable investigation of their claim, yet Linson failed to lind interior water damage to Plaintiff’s
Property due to the wind and hailstorni; (3) After additional covered damages were found at
Plaintiffs’ Property, Defendant did not have an adjuster return to Plaintiffs’ Property to properly
scope the extent of damage and create an estimate of repairs.

Defendant also breached the 'l`exas lnsurance Code when Defendant breached its duty of
good faith and fair dealing Defendant’s conduct as described herein has resulted in Plaintiffs’
damages that are described in this petition

All of the above-described acts, omissions, and failures of Defendant were done knowingly
as that term is used in the Texas insurance Code.

E. Cause of Action for Breach of Duty of Good Faith and Fair Dealing

Plaintiffs reallege and incorporate by reference all previous and subsequent paragraphs
herein

Plaintiffs incorporate all the allegations of the preceding paragraphs for this cause of action
By Defendant’s acts, omissions, failures and conduct, Defendant has breached its common law duty
of good faith and fair dealing by failing to pay adequate damages on Plaintiffs’ entire claim without
any reasonable basis and by failing to conduct a reasonable investigation to determine whether there
was a reasonable basis for this underpayment Defendant has also breached this duty by

unreasonably delaying payment of Plaintiffs’ entire claim and by failing to settle Plaintiffs’ entire

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claim because Defendant knew or should have known that it was reasonably clear that the claim
was covered These acts, omissions, failures, and conduct of Defendant are a proximate cause of
Plaintiffs’ damages

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Defendant has waived and is estopped from asserting any coverage defenses, conditions,
exclusions, or exceptions to coverage not contained in any reservation of rights letter to Plaintiffs.

§Il-slldli§d§!il§

The above described acts, omissions, failures and conduct ol` Defendant have caused
Plaintiffs’ damages which include, without limitation, the cost to properly repair Plaintiffs’ Property
and any investigative and engineering fees incurred in the claim Plaintiffs are also entitled to
recover consequential damages from Defendant’s breach of contract Plaintiffs are also entitled to
recover the amount of his claim plus an 18% per annum penalty on that claim against Defendant as
damages under Section 542 of the Texas Insurance Code, plus prejudgment interest and attorneys
fees. in an effort to comply with Rule 47(c) of the Texas Rules ol" Civil Procedure, Plaintiffs seek
only monetary relief over SlU0,0U0.0() but not more than 3200,00{).00, including damages of any
kind, penalties, costs, expenses, pre-judgment interest, and attorney fees. Therefore, all the
damages described in this petition are within the jurisdictional limits of the Court.

VIII. Al)DITIONAL DAMAGES

 

Defendant has also "knowingly" and “intentionally” committed deceptive trade practices and
unfair insurance practices as those terms are defined in the applicable statutes Because of
Defendant’s knowing and intentional misconduct, Plaintiffs are entitled to additional damages as
authorized by Section l7.50(b)(l) of the DTPA. Plaintiffs are further entitled to the additional

damages that are authorized by Section 541 of the Texas insurance Code.

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Defendant’s above and foregoing acts and oniissions, as set forth above, were done
intentionally, with a conscious indifference to the rights and welfare ofPlaintiffs, and with "‘nialice"`
as that term is defined in Chapter 41 of the Texas Civil Practice and Remedies Code. Tbese
violations by Defendant are the type of conduct which the State of Texas protects its citizen against
by the imposition of exemplary damages 'l`herefore, Plaintiffs seek the recovery of exemplary
damages in an amount to be determined by the finder of fact that is sufficient to punish Defendant
for its wrongful conduct and to set an example to deter Defendant and others similarly situated from
committing similar acts in the future.

§§;_AlIQM_EX§LEEE§

As a result of Defendant’s conduct that is described in this petition, Plaintiffs have been
forced to retain the undersigned attorneys to prosecute this action and have agreed to pay reasonable
attorneys fees Plaintiffs are entitled to recover these attorneys' fees under Chapter 38 of the Texas
Civil Practices and Remedies Code, Sections 54l and 542 of the Texas lnsurance Code, and Section
17.50 ofthe DTPA.

Z_(_I_-,J§BXQE_MAN_D

Plaintiffs assert their right to a trial by jury.

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WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that Defendant be cited to
appear and answer herein_, and that upon trial hereof, said Plaintiffs have and recover such sums as
would reasonably and justly compensate them in accordance with the rules of law and procedure,
both as to actuai damages, consequential damages, treble damages under the Texas lnsurance Code
and Texas Deceptive Trade Practices Act, and all punitive, additional, and exemplary damages as
may be found In addition, Plaintiffs request the award of attorney’s fees for the trial and any appeai
of this case, for ali costs ofcourt, for prejudgment and postjudgment interest as allowed by law,
and for any other and further refief, at iaw or in equity, to which they may show themselves to be

justly entitled

Respectfuily submitted,

  

exas tate Bar No. 24085383
iacsy,@§n¢__isl.lt§tirat.s§)m

SPEIGHTS AND WORRICH
Two TuR'riil-: CREL~;K

3838 Oak Lawn Avenue, Suite 1000
Dalias, Texas 752]9

(210) 495-6789 (Telephone)

(2} O) 495~6790 (Facsimile)

ATTORNEY FOR PLAINTIFF

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CERTIFICATE OF`§“I_*_I__ISX_I_QE

l hereby certify that on the l im day of .lune, 2015, a true and correct copy of the above and
foregoing was served to ail counsel of record in accordance with the Federal Rules of Civil

Procedure:

Rhonda .J. Thompson

R. Tate Gorman

Courtney C. Kasper

TH()MPSON, COE, COUSINS & IRONS, L.L.P.
700 N. Pearl Street, 25£'h Floor

Dallas, Texas 7520]

 

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Building Estimate Summary Guide

Thts summary guide is based on a sample estimate and is provided for reference oniy.
Please refer to the estimate for specifics of your claim.

 

State Farm insurance

Enscred: Smith, Joe & dane Eetlrnate: tJO-DGDO-GDD
Property: 1 Nla‘m Street Cieim number: UO~DGDO-DOU
Anyi.vhere, lL OOGDO-UDOG F’o|ic.y Number: UD¢DO~DDDB-O
Type of Loss: L’Jther Prir:e Lisf: ILBLBF_MAR 13
Dedumibre; $1,000‘90 RestoreiionlSorvicol

Rernodel
F = Factored |n.
D = Do Not A;)p|y

Summary for Dwetiing

 

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Material Sales Tex @ ‘lD.OUO°/i. x 1,520.GD

summer men 05.1 n
seminal emanuel overhead [§] @ idea x senate eio.si
Gom:rai Con!ra::tor Ptoiit @ 1{].{3% K 6,105.15

Replacement Cost Value (lnc|udlng General Contractor Ovarhead and Pront ~7:§25.12
Less Depreciation (lriciuding Taxoa) (532\50)
Less Generai Conlrector Overheed & Prolit on Reooverabie a

Non - recoverable Depreciaiion {186.50}

tess pedestrian
Nel Aclual Cash anuo Poymenl [:§]

Maximum Additional Amounts Availabie lf tncurred:

'i`otal Line item Depreciation (lnciuding Taxes} BSQ.SD

hess Nori - recoverehie !.‘Jepreciauon (including Taxee}

Subtolal 312.50
Genaral Contractor O&P on Uepreciallon 165.50

Less General Contreetor O&F' en Non - recoverable Depreciation
submits w
rural M@»<imum montana marine evaluate if incurred

Tola| Amount of Ciairr\ lt lncurred §

 

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ALE. AMOUNTS PAYAELE ARE SUB.EECT TO THE ¥ERMS. COND!T!ONS AND LlMlTS OF
YOUR F‘OL!C?.

 

 

 

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. Replacemont frost Value (RCV) -

. Deductible - The insurer Wiil pay for

. Net Aetuat Cash Value Payment

. Non Recoverable Dapracta\ion ~

. Total Maxlmum Addil:lonai Amount if

. Tatal Amquni of Clalm if incurred ~

Line item Total »»Totai value of eli line
items in the estimate plus possible
adjustments for labor minimums Lebor
Minimum le to cover a certain minimum
number of hours for drive-time, set up
time and applicable administrative
costa and repairs

profit - General oontreolor‘s charge for
coordinating your repeirs.

Estimated cost to repair or replace
damaged property

Depmoiatior\ - 'l'he decrease in the
value of property over a period of time
due to wear, tear, condition and
obsolescence A portion or all of this
amount may be eligible for reptooemenl
cost benefits

iosses. up to the policy limits, iri excess
of your app¥ic,ab|e deductibte.

(ACV} -Tho repair or replacement cost
of the damaged pari ofthe property
less depreciation and deductible

Depreclal‘lon applied to items that are
not eligible for replacement coal
benefits

lncurred - Tola[ amount of
recoverable depreciation after aciuai
repair or replacement of the properiy.

Totai amount of the claim lnciudlng net
actual cash value payment and total
maximum additional amount available if
incurredl

 

 

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State Farm
MX’FCHELL, CI.YDELYNN 43-53-1\1.-379
insured: MITCHELL, CLYDHLWN §§umam; 43-534L_379
Prozr@fw: 3420 mcbl<> Rflg mem Numbm~: 43534L379
Gwmfi Praifl€. TX 75052-?369 P@l:¢y Numl_»¢r.- 53-133-@334-9
HUY“C¢ (317`5 557-9339 nice Ltst: TXDPZSMOCTM
BL‘Si“ESS: {3 l 7) 563‘57 19 Rostoretioe/Sol'vit:o/Rernodot
Coiiuiat': (936') 332-305¥
'i‘ype. oi' Loss“. `Wind Demagc
Deductibie: $2`2 l 5.00
Date of Loss: 10!2/2014
Date inspected: t()li 3120t¢

Sumneary for Cevel‘age A - Dweliing » 35 Windstorm and Haii

Lizzo Itom Totnl 3,627.92
Matorlal Saies Tex lOiS.»»ii
Rr:placenient C‘ost\fatue ' 3`734.33
`i.ess Dcpreciatiou [Inr:teding Taxes) (i .7'78.38)
Less Deductible (2.215.00}
Actttnl Casi\ Vsl.iuc "i`otai (259.()5)
$U.O£}

Nr:t Actuei Coeil Velue Payment

 

 

l.inson, Laurin
(_355) 283-0441 x 9726571,858
Simmons, Darryl

ALL AMUUNTS PAYABLE ARE SUBJEC'.I` 'I`O THE TERMS, C()NDI'I'IONS AND
LIMITS OF YO{}R POLICY.

Dat¢! IO/`t:‘il'Z{]i-‘i 1 1117 Ai\/i page;:§

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State Farm
MITCHELL\ CLYDELYNN

Uwelling

chlling Exterior

43»5 341.-379

 

 

 

chlling `Ruof
3,366.-16 Surl`ace Arca 33.66 Numbe:' of Square.~;
258.98 Totz\! Per€met¢r `{.mlg,th 36.45 T<)tax\l Ridgc lenth
126.{)6 Tulu| Hip lienth
DESCR!P'I`ION QUANTITY UNIT PRICE TAX RCV DEPREC. A`CV
l. R&R 3 tab - 25 yr, » §8.0[} EA 12.'?9 215 232.37 232.37

composition shingle roofing
(per SI~-IINGLE)

The above line item la address 13 shingles on fizej$'on£ sfope, 4 shingles on size right slope, and 1 shingle on the rear slope

 

2, Rnoi'cr » per hour 100 HR '?$.31 000 150.62 i50.62
For height an:lpitf:h

Tutals: Dwel¥ing R¢)oi' 2.15 382.99 0.00 382.99
Frnnt Elevation

0.:)`0 51= ceiling
G.DO SF Shorl Wali

0_0() SF szlls
0.00 SF FlGDr
0.00 SF Long Wail

O.UU BF Wails & Ceiiir!g
G.OO LF Fioor Perimchr
G.U() LF Ceil_ Perimcler

 

 

DESCRIPTIGN QUA.NTI'I‘Y UNIT PRICE 7 TAX RCV DEPREC. ACV
No sronn damage
To£als: Fron£ Elavation 0.{)0 0.0{} 0.[3[} 0.!}{)
Right Elevation

0.{}{) 311 Waus 0-90 sF emsz 0,00 SF Wam & ewing

0.{]0 SF Floor O,{}G SF Short Wall O.DO T.,F Floczr Perimc.icr

0.00 sir Long wall

DESCRIPTION QUANTITY UNIT .I’RICE 'l`AX

0.09 I..I~` Ceil. Per`lmeter

RCV DEPREC. ACV

 

Na mann damage

 

Dute: \GHB/’_J.OH 11217 AM

Pagc: 4

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State Fal'm
MITCHELL, C.I-YDF.LY[\’N 43-534£.-379
CONTINUIZD - Righl Elevaiio:r
DESCRII’TION QUANTITY UN'£T P`RlCE TAX RCV DEPREC. ACV
'I`ota\s: Right Elevati(m 1100 {}.(}|`} {).{){) L}.E}i)

 

 

 

Reur Elevaticm

O.UU SF Will§$ G.(){) S"I: Ct:ilirsg O.UD S`F Wzl`lls & Cf:i]`mg

G.{JO SF Floor 0.{}0 SF Shc)rt Wa§l 0.(}{) LT~` Floor Pcrimet¢:r

O.GU SP Lc)ng Wuli (}_UU LF C‘¢:il. Pcr`unr:tr:r
DESCRIPTI()N QUANTI’I‘Y UN¥T PRICE TAX RCV DEFREC. A CV
No storm damage
'I`otal.€: Rear I<_`.Ievatimx (1.00 0.()0 U.l}{) (}.{3(}

 

 

 

Left Elevatinn

0.00 SF Wslis 0,00 SF acung 0_00 511 Wn.us & senng

G.OO SF F!oor O.UU SF Shc)ri Wall O.UG L`F F'lm)r Pcrimet<:a'

(}‘OO SF Lung Wal| G.UO LF Coii. T’r:rimeu:r
DESCR¥P'I`IDN QUANTITY UNI'I` PRICE TAX RCV I)EP.REC. ACV
No norm damage
Tota]s: Lel’t Elevatiun 0.1}0 ().00 0.0[} (}.0(}

Area Totals: `chliing, E>;tcrim"
].547.5'7 Exter,iur Wa].l Area

3.366.46 Suri"acc: Ama
36.45 Tma§ Ridgsl,cnglh

33.66 Numher of Squarcs
126.06 'Folal Hip Lcng[h

517.9'? 'l`ma.l Pcrimczcr L¢:ngih

 

 

 

 

Tm;ai: Dwefling Exterior

Areu Totnls: chilz`ng
1,54'7.5‘}' Exterior Wali Area

3.366.46 Surfacc Arca
35.45 Tmal R§dgc langth

2..15

33.66 Numbe.r of Squares
i26.G6 '1`0£2\1 Hip Lc:ugl}n

332.99 0.08 382.99

517.97 Tof;a.l Perimcler Length

 

Total: ch]ling

Dulc: 50113/201~'¥11:17 AM

1.15

382.‘)9 0.00 382.99

‘Pnga: 5

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State Faz'm
MITCHELL, CI.VDELYNN 43~53~111-379

Fencing

O.UO SF Wz\`)ls 0,00 SF Ccil§ng U.U{} SF Walls & Cei]ing

000 SF Floor U.UO SF Sholt Wa§l O.U() LF 1350ch Pu:im£§\:r

O.(]O SF Long Wa§l U.OG LF Ceil. Pe:rimctcr
DESCRIPTI()N QUANTI`I`Y UNlT PRICE TAX RCV DEPREC. ACV
3. R&R Wocd fence 5'n 6‘ 54.50 LF 28.37 62.()5 }.,508.?.2 <51236.58> ,`ZZi.é¢i
high - cedar

The above line item to address the shared left rim of fencing

4, R&R Wood Feuce 5‘~ 6’ 25.(}{) LF 18.3'] 28.46 737.7| -<491.30> 245.9\
high ~ cedar

For rear run offence
The following line itzn'ns fn address repairs to 1119 right mix offencfng

5. R&R Post - wood - 4" X t’j.OU EA 6€).26 l?..$l 374.[)7 374.07

4" fence grade cedar or
equal
C). Weod Fem:¢: 5` » 6` high ~ `.".D(} .EA 63`68 I_?,¢i 447.0{} 447.()0

Dr:tach & rossi ~ per 8'
section

 

Totals: Feucing 104.26 3,167.0(} <1,778.33> 1,583.62

chris Rem@val

 

 

 

 

 

 

 

 

 

 

 

 

U.UO SF Wzllls U.U{) SF Ceiling 0.0G SF Walls &. Cciling

0.(}0 SF Flom' U.DU SF Short Wall U.D{) LF Fieur P::rimcrcr

Q.GD SF lang Wa§l 0.00 I..F Ce.il. Pcr"unmer
DESCB.IPTION QUANTITY UNI'.I` PRICE TAX RCV DEPREC. ACV
7. Sing.le axle dump truck ~ 1.{)0 EA §84,34 ().{30 134,34 i34.34
per and - including dump
(€cs
'l`otals: Debz*is Removal 0.(}0 184.34 0.00 184.34
`Lir\e Item Tota¥s: 43~5341,-379 106.41 3,734.33 <1,7'!8.38> 1,955.95

Daic'. 1{}£13/201»¥ 11:17 AM Pagc'. 6

Case 4:15-cV-00181-A Document 11 Filed 06/11/15

State Farm
MITCHELL, C.l.YDELYNN
Gmnd Tuta] Areas:
1,547.57 fixtcrior Wa]§ Arca
3,366.4{) Surface Area 33.66 Numbcr of Squares
36.45 Totaf Ridge Lc.ugih 126.(}6 Tolal Hip Mng{ix

Dme: l{)."`f3."20|-1 1!:1'/` AM

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43-53~11;-379

5 57.97 Totul Perimuter Length

Page: 7

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m hummm

 

§< :H: emow\m:c~ ~EM.,Q

=EE§A.H wn~:u..>§ - m:_:u>.,~

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Prow`cling insurance and Financiai Sorvicss
Home Oftioof Bloomington. ll_

 

Octobor 13, 2014

Clydelynn i\liitcheli State Farm Claims
3420 suele aug P\O. B_O>< 2323
cramer maine T>< roosz-rsss Bi@<>mm@w“ 'l-SWOQ-P'~*?S
RE: Ciaim Nurnber: 43-5341.-379
Policy Numbor: 588868849
Date of Loss: October 02, 2014
Dsar Clydolynn Mitchell:

Tnani< you for the opportunity to discuss your loss at the above address on 10/13l2014.

State |='arrn“g agrees there is covered damage caused by wind to the areas which Wo have
itemized in our estimate P|oase nota, the ciairn adjustment for these covered damages reflects
the app§icabfe policy deductlbte.

Our adjustment reflects these covered damages as indicated below.

Buiiding:
State Farm Estimate $3734,33
Lsss Dopreciatioo $1778.38
t_ess Deductib!e; v $2215
Totai Payabie $33.22

Enclosed is our payment of $33.22 ira payment of your above referenced claim t have also
enclosed a copy of the building estimate for your reference

Bocause We value you as a policyholder and appreciate your business we want to ensure you
understand the coverage decision

ti you have questions or need assistance, please call (866) 787-8676 Ext. 2749 and leave a
voice mail messagel We will return your cail as soon as possiblo. Our centralized claim
operation is also availabfe to provide assistance They can be reached at 877~?83~1200.

B

 

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43~534L-3?‘9
i°age 2
October '1 3, 20t4

Sincere$y,

Darryi W Simmons
independent Adjuster
{SBB) 787-86?6 Ext. 2749
Fa)<: (B?"i') 732-6556

State Fenn Lloyds

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E)o-uerr b "

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Case 4

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Case 4

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Case 4

 

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Case 4

 

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BC Cfairn Set‘vicc
BC Claim Estimating Service
4601 Dogwood Dr.
Den{on, TX 76208
11/6!2014

PagelD 292

 

lnsured: Clydciynn M`u'cltcli (817) 557~0389
E'*ropcity: 3420 Pueblo Ridgc Busincss: (817) 568-5710
(`irand Prairic,'l`X 75052-7869 Cellular: {936) 332-3051
Ciaim ch.: BC Claim Set'v§ccs Business: (214) 354»0957
Business: 4601 Dogwood Dr.
Denton, TX 762€)8
Estimator: BC Cla§m Services Busincss: (2l ¢l-) 3540957
Bus'tttcss: 4601 Dogwood Dl'.
Dcnton,TX 762()8
Member Number: 435341,37 Poficy Numhcr: 58»B8~G884-9 LfR Number:
Type of Loss: Cause of Loss:
Coverage Deductible Policy Limit
chl]iog SG.UU $O.GO
Othcr Stt'uctures SO.UG $U.()t)
Contents 3000 $0.0{)
Datc of Loss: Datc Rcceivcd:
Datc Inspected: Datc Enlered: 11/6/2014 9:28 PM
Price L`tst: TXDFT'X_NOVM
RestoratlonfService/Remodcl
Summary for Dwe}ling
L`tnc llem Tolal 12,225 .69
Matcrial Salcs fl`ta)t @ 8,250% 305 .{)9
Subtotal tZ ,53(}.'78
Ovcr}'iead @ t0.0% 1353 .13
Prot"lt' @ tt).()% l ,253.13
Repiacement Cost Vaiue $15,037 134
Net Claim $15,037.04

 

BC Claim Scrvices

Plcaso contact our adjuster if you believe a supplement to this estimate is needed Be'l"orc we wilt consider a supplement to this
estimate, we must have the opportunity to rra-inspect the damages prior to the supplemental work being done

Exnien‘

 

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BC Claint Service

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Ctyde§ynn Mttobell ll/6/2{)t4 Pago: 2
t lnsurcd: Clydelynn Mitchclt Homc: (81'7) 55',7-0389
Pl'Opcrty': 3420 Pueblo Ridg€> Bus`mcss: {817) 568~5710
Grand Prulrte, 'I`X 75052~7869 Ceilular: {936) 332-3051
Clzt‘tm Rep..' BC Ctaim Sct'viccs Buslttoss: (214) 354-0957
Busincss: 4601 Dogwood Dr.
Dcuton, 'l`X 762{)8
Esttmsto:': BC Cla'trn Scrviccs Busincss: {2l4) 354~0957
Busincss: 460§ Dog\vood D:‘.
Denton. 'l"X 76208
Momber Number: 43534[.,3'7 l'olicy Number: 58-38-(%884~9 `lJR Number:
Type of Loss: Cause of Loss:
Coverage Deductible Policy Limtt
Dwolling $0.00 3000
Othor Structurcs $0.00 3000
Contents $0.00 $0.00
Date ot` Loss: Date Receivod:
Dato lnspoctod: Date Entored: t 1/6.'2914 9:28 PM
Pricc Llst: TXDWXMNOV 14
Restoration!Servicc/Remodct
Summat‘y for Other Structures
Llnc Itcm Total 3 ,43(}.19
Matorlal Salos Tax @ 8.250% 1034§
Subtotal 3 ,583 .60
Ovcrhcad @ it) .O% 35 8 .36
Profit @ iO.G% 358.36
chlacement Cost Value $4,3(}0 .32
Net Claim $4,300.32

 

BC Cteim Services

Plcase contact our adjuster it you believe a supplement to this estimate is ncodcd, Beforo we will consider a suppleman to this
estimate we must have the opportunity to re-inspoct thc damages prior to the supplemental work being done.

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BC Cfaim Serviee
Clyc§elynn Mitcheii i l/6/2014 Page: 3
lnsured: Ciydeiy:m Milchc]i Home: {817) 557»0389
l?i‘operty: 3420 Pneblo Ridge Business: (817) 568~5'?10
Grand Pz'airie, TX '75052»7869 Ce§luiur: (936) 332-305§
Ciaim Rep.: BC Cluim Serviees Bosiztess: (214) 354~0957
Business: 4601 Dogwoed Dr.
Denton, TX 76208
E$timater: BC Ciaim Serviees Business: (2l 4) 354-0957
aniness: 460i Dogweod Dr.
Denton,TX 76208
Member Numl)er: 435341,,3”.`" {.’olicy Number: 58~138-(}884-9 L/R Number:
Type of I.,oss: Cause of LOSS:
Coverage Deductible Poliey Limit
Dwelling $0.00 $0.00
Other Struc:£ures $0.00 $0.00
Contents 3000 5000
Date of Loss: Date liteeeived:
Date Inspected: Dete I-Entered: 11/6!2014 9:28 PM
Price List: 'I`XDPTXMNOVM
Restoration/Serviee/Rernodel
Summary for Contents
Line Item Total 0.00
Replaeement Cost Value $0.00
Net Ciaim $0.00

 

BC Ciaim Serviees

Please contact our adjuster if you believe e supplement to this estimate is needed Before we will consider a Supplement to this
estimate, we must have the opportunity to re-inspeet the damages prior to the Suppiemerttal work being done.

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BC Ciaim Service
Clydeiynn l\tileheli 11/6/2014 Page: 4

M lTCHELL__CLYDELYNN

 

 

Ceverage A
Rooi`
CAT SEL DESCRIPTION
CALC QN'I`Y UNI'I` I’RICE RCV DEPREC. ACV
EZIiG 240 Relnove 3 tnb - 25 yr. - composition shingle roofing ~ inei. t`eit
33.7 33.7£] SQ 37.36 1,259.03 (0.00) 1,259.03
RFG 240 3 tab ~ 25 yr. n composition shingle roofing ~ inel. felt
33.'7*1.15 38.'76 SQ 157.14 6,090.75 (0.00) 6,09€).75
15% waste added for hip roof
lter ASTR- Asphalt starter - universal starter course
181 181.0(} LF 1.31 237.11 (0.00} 237.11
RFG FLP!PE R&R Flashittg - pipe_ieek
6 6.00 EA 2939 `176.34 (0.00} 176.34
RFG \/ENTT R&R Reof vent - turtie type - Metal
5 5.00 EA 45.05 225.25 (0.00) 225 .25
HVC VEN'f`CPS R&R Fornaee vent ~ rain cap and storm eollar, 5"
3 3.00 EA 57.90 173.'70 (0.00) 173.7 0
PNT VENT Prime & paint roof vent
9 9.00 EA 22.99 206.91 {0.00) 206.91
RFG RIDGC R&R Ridge Cap - compGSitiGn Shingies
164 164.00 111<` 4.88 800.32 (8.00) 800.32
RFG DRlP R&R Drip edge
260 260.00 LF 169 439.40 (0.00} 439.40
PNT TRlM Seal & paint trim - two coats
260 26(}.{)0 LF 0.90 234.€)9 (0.00} 234.00
Paint drip edge te match existing
RFG VMTL R&R Valiey metal
46 46.00 LF 3.98 iSB.€)S (0.0€)) 183.08
ELS DISHRS Digitai satellite system - Detach & reset
1 1.00 EA 24.88 24.88 (0.09) 24.88
ELS DISHA Digital satellite system ~ alignment and calibration only
l 1.00 EA 7 4.65 74.55 (0.00) 74.65
RFG S'l`EP Step fiashing
13 13.00 LF 635 82.55 (0.€10) 82.55
RFG FLCH R&R Chimney ffeshing » average {32" x 36"}
1 l.{)t} EA 239.44 239 .44 (0.09) 239.44
RFG STEEP Remove Additionai charge for steep roof - 7/12 to 9/ 12 slope
33.7 33.70 SQ 9.29 313,07 (0.00) 313.07
RFG S'E"EEP Additienal charge for steep roof » 7!12 to 9/12 slope
33.7 33.7() SQ 24.57 828.01 ((}.00) 828.01
RFG HIGH Remove Additional charge for high roof (2 stories or greater)
33.7 33.7 0 SQ 3.51 118.29 (0.00) 118.29
RFG HIGH Additional charge for high roof {2 stories er greater)

33.'7 33.70 SQ 10.85 365.65 {0.0{}) 365.65

 

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BC C!aim Serviee
Ciydei_vnn i\’litehell i ito/2014 Page; 5
CONTIN Ul€]) ~ Roof‘
CAT SEL DESCRIP'[`ION
CALC QN'I`Y UNIT PRICE RCV DEPREC. ACV
Totals: Roof 12,072.43 0.00 12,072.43
Exterior
CAT SEL DESCRIPTION
CALC QN'I`Y UNlT PRICE RCV DEPREC. ACV
HVC ACFINS Comb end straighten afc condenser tins - with trip charge
1 1.00 EA 15326 153.26 (0.00) 153.26
Totals: Exterioa: 153.26 0.0€] 153.26
fnterier
CAT SEL DESCR`IPTION
CALC QNTY UNIT PRICE RCV DEPREC. ACV
No interior damages
Totals: Interior 0.00 0.08 0.00
Total: Coverage A 12,225.69 0.00 12,225.69
Coverage B
It`ence
CA'l` SEL DESCRIPTiON
CALC QNTY U'N]'f` }’RICE RCV I)EI’REC. ACV
FEN WDFGT R&R W<Jod fence 5‘- 6' high - treated
143‘9" 143.75 LF 24.2'1 3,480.19 (0.00) 3,480.19
Totals: Fence 3,480.19 0.0(} 3,480.19
Total: Coverage B 3,480.19 0.00 3,480.£9

 

 

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BC Claim Serviee
Clydelynn Mitc:heii li/6/2014 Page: 6
Line ltem Totals: MITCHELL_CLYDELYNN 15,705.88 0.00 15,705.88
Coverage Itcm 'I‘otal % ACV ’l`otal %
Dwelling 12,225 .69 77.84% 15 ,037.04 7”?.'76%
Other Structures 3 ,1{8{}.19 22.16% 4,3()0 .32 22.24%
Contents 0.00 0`00% 0.00 0.00%

 

'i`otai 15,705 ,88 10().00% 19,337.36 100.00%

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Clydetynn Mitc:heil

Estimate: MITCHELL__CLYDELYNN

Area: Coverage A
Rooi`
Coverage: Dwelling
Exterior
Coverage: Dweliing

BC Claim Service

Reeap by Room

100.00%

10(}.00%

 

Area Subtotal: Ct)verage A
Coverage: Dweliing

Area: Coverage B
Fenee
Covernge: Other Struetut'es

i{JU.OO%

100.00%

 

Area Subtotai: Coverage B

Coverage: Otiter Structures

100.00%

 

Subtotal of Areas

Coverege: Dweliing
Coverage; Other Struetnres

77 .84%

22.16% -

 

Total

 

 

 

 

lifo/2014 Page: 7
12,072.43 76.87%
12,072.43
153 .26 0.98 %
l53 .26
12,225.69 77.84%
i2,225 .69
3,480.19 22.16%
3 ,480.}9
3,480.19 22.16%-
3 .480..§ 9
15,705.88 100.00%
12,225.69
3 ,480 .i 9
15,705.88 100.00%

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BC Claim Service

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Ciydelynn Mitchoii i 1/6/2014 Pztge: 8
Recap by Category

O&P Items Totel %

ELECTRECAL ~ SP§§CIAL SYS’I`EMS 99.53 0.5} %
Coverage: Dweliing @ iO().tiU% = 99.53

FENCING 3,480.19 18.00%
Coverage: Other Structtn‘es @ 100.00% = 3,480.19

I~IEAT, VENT & AIR CONDITIONING 326.96 1.69%
Coverage: Dweiling @ 100.00% = 326.96

PAINI`ING 440.91 2.28%
Coverege: Dweliing @ 100.00% 2 440.91

ROOFING 11,358.29 58.74%
Coverage: Dweiiing @ 100.00% m 11,358.29

O&P items Subtet.ai 15 ,7(}5.88 81.22%

Material Saies Tax @ 825()% 498.50 2.11%
Coverage: Dwelling @ 74.69% = 305.09
Coverage: Other Struetures @ 25.31% = 103.41

0verhead @ 10.0% 1,611.49 8.33%
Coverage: Dwelling @ 77.76% m i_,253.i3
Coverage: Other Strtxetures @ 22.24% = 353.36

Profit @ '1(}.0% 1,611 .49 833 %
Cover;tge: Dweliing @ 77.76% ~»»- 1,253.13
Coverage: OtherStructures @ 22.24% = 358,36

Total 19,337.36 100.00%

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BC Claim Service
Ciydelynn Mitohe§l 11/6/2014 Page: 9

l Front of Rlsk
Date 'f`alten: 10f25/2014
Taken By: BC Claim Services

Front of Risk

2 Rool 0verview
Date Taken: 10/25/2014
'l`akcn By: BC Ciaim Serviees

Overview of Roof ~ Wind damage to
shingles on this slope

 

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BC Claim Service
Clydeiynn Mitcheli lifo/2014 Page: 10

3 Roof Overview
Date 'l`alcen: i0/25f2014
T'aken By: BC Ciaim Services

Overview of RGOI` ~ Willd damage to
shingles on this slope

 

4 Roof Overview
Dale Taken: 10/25/2014
Tal<en By: BC Ciaim Services

Overview of Rooi` - Wind damage to
shingies on this slope

 

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BC Claim Service
Clydelynn Mitchell lifo/2014 Page: ll

5 Roof Overview
Date 'l`aken: 1025/2014
Taken By: BC Claim Set'vices

Overview of Rool' - Wind damage to
shingles on this slope

 

6 Rc>ef Overvie\-v
Date Taken: 1025/2014
'l`al<en By: BC Claim Serviees

Overview of Roof ~ Wind damage to
shingles on this slope

 

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BC Claim Service
Cl_vdeiynn Mitehell 1116/2014 Page: i2

7 Wind Damage
Date Taken: 10/25/2014
Taken By: BC Claim Serviees

Wind damage to shingles on front
slope

8 Wind Darnage
. Date 'I`aken: 10/25/2014
Tal<en By: BC Clatm Services

Wind damage to shingies on left slope

 

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BC Claim Service
Clydelynn ivlitchell 11/6/2014 Page: 13

9 Wind Darnage
Date Talten: 10/25/2014
Taken By: BC Cittim Services

Wind damage to shingles on right
slope

 

10 Wind Damage
Date Takcn: t0/25!2014
'l`ei<en By.' BC Ciaim Serviees

Wind damage to shingles on back
slope

 

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Clydelynn Mitehell

ll AJC
Date Takerz: 10!25/2014
'l`al<en By: BC Claim Serviees

Hail damage to afc

12 A/C
Date Tal<en: ]0/2512014
Taken By: BC Claim Services

i~iail damage to afc

BC Claim Service

l 1/6/2()14

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Clydelynn Mitehell

13 Fence
Date Talcen: 10/25!20§4
'l`aicen By: BC Cla§m Services

Wind damage to fence

14 Fence
Date 'l`alten: 10/25/2014
Tal<en By: BC Claint Serviccs

Winc§ damage to fence

BC Claim Service

l 116/2014

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BC Claim Serviee
Clydelynn Mitcheii 11/6/2014 Page: 16

15 Fenee
Dttte Taken: 10/25/2014
Talcen By: BC Claim Services

Wind damage to fence

 

